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     SERVICE INTERNATIONAL, INC.
  10 and MENZIES AVIATION (USA),
     INC.
  11

  12                             UNITED STATES DISTRICT COURT
  13               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  14

  15    DANNY LOPEZ, individually, and on          Case No. 2:21-cv-07108-DMG-Ex
        behalf of all other aggrieved employees,
  16                                               DEFENDANTS AIRCRAFT SERVICE
                                      Plaintiff,
  17                                               INTERNATIONAL, INC.’S AND
                      vs.                          MENZIES AVIATION (USA), INC.’S
  18                                               NOTICE OF MOTION AND MOTION
     AIRCRAFT SERVICE
  19 INTERNATIONAL, INC., a corporation;           TO COMPEL ARBITRATION
     AIR MENZIES INTERNATIONAL
  20 (USA), INC., a corporation; MENZIES           [Concurrently Filed concurrently with
     AVIATION (USA), INC., a corporation;
  21 and DOES 1 through 50, inclusive,             Declaration of Kevin Jackson, Declaration
                                                   of Talin Bazerkanian and [Proposed]
  22                                Defendants.    Order]
  23
                                                   Date:       August 19, 2022
  24                                               Time:       9:30 a.m.
  25                                               Ctrm.:      8C, 8th floor
                                                   Judge:      Hon. Dolly M. Gee
  26

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                            DEFENDANTS’ NOTICE OF MOTION AND MOTION TO COMPEL
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2              PLEASE TAKE NOTICE that on August 19, 2022 at 9:30 a.m., or as soon
    3   thereafter as this matter may be heard, in Courtroom 8C, 8th Floor, before the Honorable
    4   Dolly M. Gee, of the above-captioned Court, located at First Street Courthouse, 350 W.
    5   1st Street, Los Angeles, California 90012, Defendants Aircraft Service International, Inc.
    6   and Menzies Aviation (USA), Inc.1 (collectively, “Menzies”) will, and hereby do, move
    7   the Court for an order to compel arbitration.
    8              This Motion is made upon the grounds that Plaintiff is bound by an agreement to
    9   arbitrate employment-related disputes, including those raised by the Complaint on file
  10    herein, and has also expressly waived the right to bring or join in any collective or class
  11    action as to such claims or to otherwise consolidate a covered claim with the claims of
  12    others. The agreement to arbitrate is enforceable pursuant to the provisions of the
  13    Federal Arbitration Act.
  14               This Motion is based upon this Notice of Motion and Motion, the attached
  15    Memorandum of Points and Authorities, Declaration of Kevin Jackson, Declaration of
  16    Talin Bazerkanian and exhibits thereto, the records and pleadings on file herein, all of
  17    which the Court is requested to take judicial notice thereof, and upon such oral or
  18    documentary evidence as may be presented at the time of hearing thereon.
  19               This Motion is made following the conference of counsel pursuant to Local Rule 7-
  20    3 which took place between June 24, 2022 and July 1, 2022.
  21    ///
  22    ///
  23    ///
  24    ///
  25    ///
  26    ///
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        1
  28     Named defendant “Air Menzies International (USA), Inc.” is not an existent or proper
        entity and has no relationship to Plaintiff’s employment with Menzies. It has not been
        served nor responded to the Complaint and has no valid involvement in this case.
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    1   DATED: July 14, 2022                FOLEY & LARDNER LLP
                                            Christopher Ward
    2
                                            Kevin Jackson
    3
                                            /s/ Christopher Ward
    4                                       Christopher Ward
                                            Attorneys for Defendants AIRCRAFT
    5                                       SERVICE INTERNATIONAL, INC. and
                                            MENZIES AVIATION (USA), INC.
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    1                       MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.         INTRODUCTION
    3              Plaintiff Danny Lopez (“Plaintiff”) brings this representative civil action pursuant
    4   to the Private Attorneys’ General Act (“PAGA”) seeking to recover civil penalties on
    5   behalf of himself and other “aggrieved employees.” The Supreme Court has just made
    6   clear he may not maintain this action any longer.
    7              In connection with his employment, Plaintiff signed an Alternative Dispute
    8   Resolution agreement (the “Arbitration Agreement”) containing a waiver of his right to
    9   serve as a class or collective action representative or “otherwise consolidating a covered
  10    claim with the claims of others.” Accordingly Plaintiff is compelled to pursue all of his
  11    claims—including his individual claim under the Private Attorneys General Act of 2004
  12    (“PAGA”)—through binding arbitration on an individual basis. In light of the recent
  13    decision of the United States Supreme Court in Viking River Cruises, Inc. v. Moriana,
  14    No. 20-1573 (2022), the Federal Arbitration Act (“FAA”) preempts the rule of Iskanian
  15    v. CLS Transp. Los Angeles, LLC, 59 Cal. 4th 348, 380 (2014) that “PAGA claims cannot
  16    be split into arbitrable “individual” claims and nonarbitrable “representative” claims. As
  17    a result, “[u]nder PAGA’s standing requirement, a plaintiff can maintain non-individual
  18    PAGA claims in an action only by virtue of also maintaining an individual claim in that
  19    action.” Accordingly, once this Court compels Plaintiff to submit his individual PAGA
  20    claim to arbitration consistent with the obligations he undertook in connection with his
  21    employment, he no longer has standing to pursue representative claims on behalf of other
  22    “aggrieved employees” in a civil action, and the “correct course is to dismiss [his]
  23    remaining claims.”
  24               Accordingly, Menzies respectfully requests that this Court enforce Plaintiff’s
  25    Arbitration Agreement, require him to proceed with his individual PAGA claim through
  26    final and binding arbitration, and dismiss Plaintiff’s “non-individual” PAGA claim on
  27    behalf of other purportedly “aggrieved employees.”
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    1   II.        RELEVANT FACTUAL BACKGROUND
    2              On July 21, 2021, Plaintiff commenced this action by filing an unverified
    3   Complaint in the Superior Court of California, County of Los Angeles, entitled “DANNY
    4   LOPEZ, individually, and on behalf of all other aggrieved employees v. AIRCRAFT
    5   SERVICE INTERNATIONAL, INC., a corporation; AIR MENZIES INTERNATIONAL
    6   (USA), INC., a corporation; MENZIES AVIATION (USA), INC., a corporation; and
    7   DOES 1 through 50, inclusive” Case No. 21STCV26797 (the “Complaint”). [Dkt. 1, ¶
    8   1.] Defendants Aircraft Service International, Inc. and Menzies Aviation (USA), Inc.
    9   (collectively, “Menzies”) received service on or around August 3, 2021. [Dkt. 1, ¶ 1.]
  10    Plaintiff has never served non-existent entity Air Menzies International (USA), Inc.
  11    Menzies then removed this Action to this Court on on September 2, 2021. [Dkt. 1.]
  12               The Complaint alleges a single cause of action under the California Private
  13    Attorneys’ General Act (“PAGA”), premised on the following alleged violations of the
  14    California Labor Code: (1) Failure to Provide Meal Periods; (2) Failure to Provide Rest
  15    Periods; (3) Failure to Pay Overtime Wages; (4) Failure to Pay Minimum Wages; (5)
  16    Failure to Permit Inspection of Records; (6) Failure to Timely Pay Wages; (7) Failure to
  17    Pay All Wages Upon Termination; (8) Failure to Provide Accurate Itemized Wage
  18    Statements; and (9) Failure to Reimburse. [Dkt. 1-2.]
  19               Plaintiff commenced his employment with Menzies in 2007. [See Declaration of
  20    Talin Bazerkanian (“Bazerkanian Decl.”), ¶ 4.] For several years, Menzies has utilized
  21    an Alternative Dispute Resolution Policy (“ADR Policy”) for all employees at its
  22    locations in the United States. [Bazerkanian Decl., ¶ 2, Ex. A.] For employees who
  23    choose to be bound by the ADR Policy, they agree with Menzies that any claims arising
  24    from the employment relationship, other than certain categories of statutorily-excluded
  25    claims, must be brought in binding arbitration – including “claims brought under the
  26    California Labor Code.” [Bazerkanian Decl., ¶¶ 2-3, Ex. A.] Employees receive a free-
  27    standing copy of the Menzies ADR Policy memorializing all the terms of the ADR
  28    Policy, including, among other terms, that it applies bilaterally to the employee and

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    1   Menzies, that Menzies will be responsible for all unique costs of arbitration, that the
    2   parties will have the full range of discovery available to them as in civil litigation, that
    3   the arbitrator has the power to award all civilly-available forms of relief, and that the
    4   arbitrator must issue a written award. [Bazerkanian Decl., ¶¶ 2-3, Ex. A.] The ADR
    5   Policy also requires that employees choosing to be bound by it waive the right to act as a
    6   class action representative or pursue their claims on any type of representative basis, as it
    7   explicitly prohibits “otherwise consolidating a covered claim with the claims of others.”
    8   [Bazerkanian Decl., ¶¶ 2-3, Ex. A.] Employees agreeing to the ADR Policy execute a
    9   separate document memorializing their agreement to be bound by all provisions of the
  10    ADR Policy. [Bazerkanian Decl., ¶¶ 2-3, Ex. A.]
  11               On June 28, 2019, Plaintiff executed his written assent to be by bound by the ADR
  12    Policy (the “Arbitration Agreement”). [Bazerkanian Decl., ¶ 4, Ex. B.] By agreeing to be
  13    bound by the Menzies ADR Policy, Plaintiff therefore waived the ability to pursue, on an
  14    individual or representative basis, various wage and hour claims against Menzies in a
  15    civil forum, including those he now attempts to bring in this Action pursuant to PAGA.
  16    [Bazerkanian Decl., ¶ 4, Ex. B.]
  17    III.       THIS COURT SHOULD REQUIRE ARBITRATION OF PLAINTIFF’S
  18               PAGA CLAIM
  19               A.    The Supreme Court Affirmed The Enforceability Of Arbitration
  20                     Agreements In Employment Relationships, Including As Applied To
  21                     PAGA
  22               The principal purpose of the Federal Arbitration Act, as well as the California
  23    Arbitration Act, is to ensure that “private arbitration agreements are enforced according
  24    to their terms,” reflecting a liberal policy favoring arbitration. AT&T Mobility, LLC v.
  25    Concepcion, 563 U.S. 333 (2011); see also 9 U.S.C. § 2; Perry v. Thomas, 482 U.S. 483,
  26    489 (1987); Green Tree Fin. Corp. v. Randolph, 531 U.S. 79, 91 (2000); Avery v.
  27    Integrated Healthcare Holdings, Inc., 218 Cal. App. 4th 50, 62 (2013). The Supreme
  28    Court also has repeatedly affirmed that the FAA applies to written arbitration agreements

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    1   in the employment context. Circuit City Stores v. Adams, 532 U.S. 105, 115 (2001). If a
    2   court determines that a valid arbitration agreement encompasses the dispute, the FAA
    3   requires the court to enforce the arbitration agreement according to its terms. Simula Inc.
    4   v. Autoliv, Inc., 175 F.3d 716, 719 (9th Cir. 1999) (acknowledging that arbitration
    5   agreements must be rigorously enforced); Volt Info. Scis., Inc., v. Bd. of Trs. of Leland
    6   Stanford Junior Univ., 489 U.S. 468, 477 (1989) (holding that the purpose of the FAA “is
    7   simply to ensure the enforceability, according to their terms, of private agreements to
    8   arbitrate”). The FAA does not give a district court discretion in determining whether to
    9   compel arbitration; instead it “mandates that district courts shall direct the parties to
  10    proceed to arbitration on issues as to which an arbitration agreement has been signed.”
  11    Dean Witter Reynolds v. Byrd, 470 U.S. 213, 218 (1985).
  12               On April 27, 2011, the Supreme Court issued its landmark ruling in AT&T
  13    Mobility, LLC v. Concepcion, 563 U.S. 333 (2011), clarifying that the FAA makes
  14    enforceable agreements requiring parties to resolve claims through arbitration on an
  15    individual basis. See AT&T Mobility, 563 U.S. at 333; see also 9 U.S.C. § 2; Perry, 482
  16    U.S. at 489 (1987); Randolph 531 U.S. at 91. On May 21, 2018 the United States
  17    Supreme Court issued its decision in Epic Sys. Corp. v. Lewis, 2018 U.S. LEXIS 3086,
  18    *2, Supreme Court docket number 16-285. Like Plaintiff, the plaintiff in Epic Systems
  19    signed an arbitration agreement with his employer but still pursued civil claims in court.
  20    Id. at *8-10. The Supreme Court held that, even in the employment context, “Congress
  21    has instructed in the Arbitration Act that arbitration agreements providing for
  22    individualized proceedings must be enforced, and neither the Arbitration Act's saving
  23    clause nor the NLRA suggests otherwise.” Id. (emphasis added.) Like the parties in Epic
  24    Systems, Plaintiff and Menzies here contracted for arbitration and specified the rules that
  25    would govern the arbitrations, such that the Arbitration Agreement must be enforced;
  26    “this much the Arbitration Act seems to protect pretty absolutely.” Id. at * 14; see
  27    Bazerkanian Decl., ¶ 4, Ex. B.
  28               It is now clear that all the foregoing rules and legal standards apply with equal

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    1   measure to PAGA claims and that California cannot supersede the preemptive scope of
    2   the FAA. On June 15, 2022, the Supreme Court issued another landmark ruling in Viking
    3   River Cruises, Inc. v. Moriana, No. 20-1573 (2022), wherein the Court resolved whether
    4   the FAA preempts the rule of Iskanian v. CLS Transp. Los Angeles, LLC, 59 Cal. 4th 348,
    5   380 (2014) that “PAGA claims cannot be split individual arbitrable “individual” claims
    6   and nonarbitrable “representative” claims.” In holding that the FAA preempts the
    7   Iskanian rule, the Supreme Court went beyond simply enforcing a “representative action
    8   waiver” and instead analyzed the issues of claim joinder and standing.
    9              With respect to claim joinder, specifically, the Court held that “PAGA’s built-in
  10    mechanism of claim joinder is in conflict with the FAA. Iskanian’s prohibition on
  11    contractual division of PAGA actions into constituent claims unduly circumscribes the
  12    freedom of parties to determine “the issues subject to arbitration” and “the rules by which
  13    they will arbitrate,” Lamps Plus, Inc. v. Varela, 587 U. S. __, 139 S. Ct. 1407, 1416, and
  14    does so in a way that violates the fundamental principle that “arbitration is a matter of
  15    consent.” Viking River, at 2 (citing Stolt-Nielsen S. A. v. AnimalFeeds Int’l Corp., 559
  16    U.S. 662, 684 (2010).) Therefore, “state law cannot condition the enforceability of an
  17    agreement to arbitrate on the availability of a procedural mechanism that would permit a
  18    party to expand the scope of the anticipated arbitration by introducing claims that the
  19    parties did not jointly agree to arbitrate.” Id. In other words, the FAA preempts Iskanian
  20    insofar as it requires joinder of claims under PAGA. As a result, Viking River instructs
  21    that PAGA encompasses an “individual” claim and a “non-individual” claim, and that the
  22    FAA preempts Iskanian to the extent that it would prevent an employee from waiving the
  23    right to bring his “individual” PAGA claim in a court action. Id. at 4.
  24               The Court then considered PAGA’s standing requirement, and addressed the
  25    question of whether an individual who is compelled to submit his individual PAGA claim
  26    to arbitration retains standing to pursue the “non-individual” PAGA claim (i.e., the
  27    representative claim brought for the benefit of other “aggrieved employees”). The Court
  28    held, in unequivocal terms, that “[u]nder PAGA’s standing requirement, a plaintiff can

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    1   maintain non-individual PAGA claims in an action only by virtue of also maintaining an
    2   individual claim in that action. See Cal. Lab. Code Ann. §§2699(a), (c). When an
    3   employee’s own dispute is pared away from a PAGA action, the employee is no different
    4   from a member of the general public, and PAGA does not allow such persons to maintain
    5   suit.” Viking River at 21. As a result, once Plaintiff here is required to submit his
    6   individual PAGA claim to arbitration – and he must be pursuant to Epic Systems and its
    7   predecessor cases – “the correct course is to dismiss [his] remaining [non-individual]
    8   claims.” Id.
    9              B.    THE ARBITRATION AGREEMENT IS ENFORCEABLE
  10               The Court’s role in deciding whether to compel arbitration is to determine two
  11    questions: “(l) whether a valid agreement to arbitrate exists and, if it does, (2) whether the
  12    agreement encompasses the dispute at issue.” Kilgore v. KeyBank, Nat'l Ass’n, 718 F.3d
  13    1052, 1058 (9th Cir. 2013) (internal citations and quotations omitted). Both of these
  14    questions must be answered in the affirmative here as applied to Plaintiff and the claims
  15    raised in his Complaint.
  16                     1.     The Arbitration Agreement is Valid
  17               Courts apply “general state-law principles of contract interpretation, while giving
  18    due regard to the federal policy in favor of arbitration” in determining the validity of an
  19    arbitration agreement. Wagner v. Stratton Oakmont, Inc., 83 F.3d 1046, 1049 (9th Cir.
  20    1996); Kilgore, 718 F.3d at 1058. Where the parties agree to submit all disputes to
  21    binding arbitration, a valid arbitration agreement exists. See, e.g., Cruise v. Kroger 233
  22    Cal. App. 4th 390, 396-97 (2015). Cruise is instructive. In the case, the employee signed
  23    an employment application that included a “Mandatory Final & Binding Arbitration”
  24    provision in which the employee agreed to arbitrate all employment-related disputes. Id.
  25    at 396. The employee later filed a lawsuit against the employer alleging employment
  26    discrimination, and the employer sought to compel arbitration. Id. at 394. The court
  27    deemed the arbitration agreement valid based on the agreement’s language mandating
  28    that the employee submit any employment disputes to binding arbitration, explaining that

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    1   this language “eliminates any argument that the parties did not agree to arbitrate.” Id. at
    2   397.
    3              Likewise, in this case, Plaintiff signed the Arbitration Agreement on June 28,
    4   2019, wherein he agreed to submit “any dispute” arising out of his employment,
    5   including “alleged violations of federal, state, and/or local constitutions, statutes, or
    6   regulations,” including but not limited to claims brought under the “California Labor
    7   Code.” [Bazerkanian Decl., ¶¶ 2-4, Exs. A-B]. The Arbitration Agreement also
    8   unequivocally provides that all claims must be brought on an “individual” basis in
    9   arbitration, and it expressly prohibits “otherwise consolidating a covered claim with the
  10    claims of others.” This language eliminates any argument that the parties did not agree to
  11    arbitrate, and evidences the existence of a valid arbitration agreement.
  12                     2.     The Arbitration Agreement Encompasses The Dispute at Issue
  13               California’s strong public policy in favor of arbitration is guided by the principle
  14    that “[d]oubts as to whether an arbitration clause applies to a particular dispute are to be
  15    resolved in favor of sending the parties to arbitration. The court should order them to
  16    arbitrate unless it is clear that the arbitration clause cannot be interpreted to cover the
  17    dispute.” United Transportation Union v. Southern Cal. Rapid Transit Dist. 7 Cal. App.
  18    4th 804, 808 (1992). It is well-settled that “broad contractual provisions for arbitration
  19    are to be liberally construed.” Id. at 809.
  20               Here, Plaintiff agreed to arbitrate any claims “arising out of or relating to
  21    [Plaintiff’s] employment.” [Bazerkanian Decl., ¶¶ 2-3, Ex. A.] Plaintiff brings a single
  22    cause of action under PAGA, which is a “claim[] brought under the California Labor
  23    Code.” [Bazerkanian Decl., ¶¶ 2-3, Ex. A.] The Arbitration Agreement therefore
  24    encompasses the dispute at issue. See, e.g., Asfaw v. Lowe’s HIW, Case No. LA CV14-
  25    00697 JAK (AJWx), 2014 U.S. Dist. LEXIS 68657, * 9 (C.D. Cal. May 13, 2014).
  26               C.    PLAINTIFF MUST INDIVIDUALLY ARBITRATE HIS CLAIMS
  27               When Plaintiff signed the Arbitration Agreement, he agreed to waive “the ability to
  28    participate in a class action or act as a collective action representative.” [Bazerkanian

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    1   Decl., ¶¶ 2-3, Ex. A.] He also expressly agreed that he would not “consolidat[e] a
    2   covered claim with the claims of others.” [Id.] However, Plaintiff attempts to do exactly
    3   what the Arbitration Agreement prohibits him from doing: consolidate his “individual”
    4   PAGA claim with the “non-individual” PAGA claims of other purportedly “aggrieved
    5   employees.” Viking River requires enforcement of the arbitration agreement insofar as
    6   Plaintiff agreed that he would submit all claims arising out of his employment, including
    7   those brought under the California Labor Code (which encompasses PAGA claims) to
    8   final and binding arbitration. Viking River also instructs that once Plaintiff has submitted
    9   his individual PAGA claim to arbitration, he loses standing to bring “non-individual”
  10    PAGA claims in a court action. Therefore, Plaintiff is required to arbitrate his claims on
  11    an individual basis, and “the correct course is to dismiss [his] remaining [non-individual]
  12    claims.” Viking River, at 21.
  13    IV.        CONCLUSION
  14               For the foregoing reasons, Menzies respectfully requests that this Court enforce the
  15    Plaintiff’s agreement to be bound by the Arbitration Agreement, require him to proceed
  16    with his individual PAGA claim through final and binding arbitration pursuant to his
  17    agreement, and dismiss his “non-individual” PAGA claims.
  18

  19    DATED: July 14, 2022                         FOLEY & LARDNER LLP
                                                     Christopher Ward
  20
                                                     Kevin Jackson
  21
                                                     /s/ Christopher Ward
  22                                                 Christopher Ward
                                                     Attorneys for Defendants AIRCRAFT
  23                                                 SERVICE INTERNATIONAL, INC. and
                                                     MENZIES AVIATION (USA), INC.
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